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Plaimitf,
vs. ca. No. 04-20070-01-5

W!LL|AN| NEV|LLES,

Defendant.

 

ORDER ON CONT!NUANCE AND SPEC|FY|NG PEF{!OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Mondag¢l July 25l 2005l at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federal Building, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T lS SO ORDERED this §Dq\ day of June 2005.

dale

J A |EL BREEN
|T D STATES DlSTFt|CT JUDGE

 
 
 

This document entered on the docket she
§'tcle 55 and/or 32(h) FRCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:04-CR-20070 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

